               Case 20-17186-AJC        Doc 13     Filed 07/09/20       Page 1 of 2




                       UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF FLORIDA
                                MIAMI DIVISION
In Re:
JOAQUINA RAPOSO,                                                 Bk. No. 20-17186-AJC

      Debtor                                                     Chapter 13
________________________________/

       NOTICE OF APPEARANCE AND DEMAND FOR SERVICE OF PAPERS

       PLEASE TAKE NOTICE that the undersigned counsel enters its appearance for
Caliber Home Loans, Inc, a creditor and/or party in interest (“the Creditor”), with regards to its
Mortgage recorded January 15, 2013, Book 28445 and Page 4205 on the real property, located at
2820 NW 174TH ST, MIAMI GARDENS, FL 33056-4035, in the above captioned bankruptcy
matter, and pursuant to Bankruptcy Rule 2002(g) and 2002(h) and 9007 and §1109(b) of the
Bankruptcy Code, demands that all notices that are required to be given in this case and all
papers that are required to be served in this case, be given to and served upon the undersigned at
the office, post office address and telephone number set forth below.
         PLEASE TAKE FURTHER NOTICE that pursuant to §1109(b) of the Bankruptcy
  Code, the foregoing demand includes not only the notices and papers referred to in the Rules
  specified above, but also includes, without limitation, orders and notices of any application,
 motion, petition, pleading, request, complaint or demand, whether formal or informal, whether
written or oral whether transmitted or conveyed by mail, delivered, telephone, telegraph, telex or
 otherwise which affect or seek to affect in anyway any of the Creditor’s rights or interest, with
         respect to the Debtor or the property on which Creditor holds a mortgage lien.




PH # 103962
               Case 20-17186-AJC         Doc 13      Filed 07/09/20   Page 2 of 2




               CERTIFICATE PURSUANT TO LOCAL RULE 9011-4(B)(1)
               I hereby certify that I am admitted to the Bar of the United States District Court
for the Southern District of Florida and I am in compliance with the additional qualifications to
practice in the court set forth in Local Rule 2090-1(A).
July 9, 2020
                                          /s/ Stefan Beuge, Esquire
                                          Stefan Beuge, Esq., Florida Bar No. 68234
                                          Phelan Hallinan Diamond & Jones, PLLC
                                          2001 NW 64th Street
                                          Suite 100
                                          Ft. Lauderdale, FL 33309
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PH # 103962                                      2
